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 1   Alison L. Lynch (SBN 240346)
     Sarah Raoof (SBN 329260)
 2   JACKSON LEWIS P.C.
     200 Spectrum Center Drive, Suite 500
 3   Irvine, CA 92618
     Telephone: (949) 885-1360
 4   Facsimile: (949) 885-1380
     Email:      alison.lynch@jacksonlewis.com
 5               sarah.raoof@jacksonlewis.com
 6   Attorneys for Defendant WESTERN GOVERNORS UNIVERSITY
 7
 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   LINDSEY MACK, an individual,         ) CASE NO.: '23CV1842 RBM MSB
                                          )
12                                        )
                      Plaintiffs,         ) DEFENDANT WESTERN
13                                        )
           vs.                            ) GOVERNORS UNIVERSITY’S
14                                        ) NOTICE OF REMOVAL PURSUANT
     WESTERN GOVERNORS                    ) TO 28 U.S.C. §§ 1331, 1332, 1367, AND
15   UNIVERSITY, a Nonprofit              )
                                            1441
16
     Corporation, and DOES 1 through 20, ))
     inclusive,                           ) [San Diego Superior Court Case No.
17                                        )
                      Defendants.         ) 37-2023-00037783-CU-OE-CTL]
18                                        )
                                          )
19                                        ) Action Filed:    August 31, 2023
                                          ) Date Removed: October 6, 2023
20                                        )
                                          )
21
22         TO THE HONORABLE COURT AND TO ALL INTERESTED PARTIES
23   AND THEIR ATTORNEYS OF RECORD:
24         PLEASE TAKE NOTICE that WESTERN GOVERNORS UNIVERSITY
25   (“WGU”), a defendant in the above-titled action, hereby removes this matter to the
26   United States District Court for the Southern District of California pursuant to 28 U.S.C.
27   sections 1332, and 1441(b) based on the grounds of diversity jurisdiction. In support
28   thereof, WGU asserts the following:


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 1                                DIVERSITY JURISDICTION
 2         1.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C.
 3   sections 1332 and 1441. This case may be removed pursuant to 28 U.S.C. sections 1332,
 4   1441, and 1446 because it is a civil action between citizens of different states and the
 5   amount in controversy exceeds $75,000, exclusive of interest and costs.
 6                                TIMELINESS OF REMOVAL
 7         2.     Plaintiff Lindsey Mack (“Plaintiff”) filed a Complaint against WGU on
 8   August 31, 2023, in the Superior Court of the State of California, County of San Diego.
 9   The state court assigned Plaintiff’s Complaint with Case No. 37-223-00037783-CU-OE-
10   CTL. A true and correct copy of Plaintiff’s Complaint is attached as Exhibit A to the
11   Declaration of Alison L. Lynch (“Lynch Decl.”) filed concurrently with this Notice of
12   Removal.
13         3.     Plaintiff served WGU via personal service on September 8, 2023, making its
14   responsive pleading due on or before October 9, 2023. A true and correct copy of the
15   Summons and Complaint is attached as Exhibit B to the Declaration of Alison L. Lynch.
16         4.     On October 5, 2023, WGU Answered Plaintiff’s Complaint in State Court.
17   A true and correct copy of WGU’s Answer is attached as Exhibit C.
18         5.     As of the date of this Notice of Removal, Exhibits A, B, and C to the
19   Declaration of Alison L. Lynch constitute all of the pleadings served on or served by
20   WGU in this matter, and no further proceedings have occurred in the state court. [Lynch
21   Decl., ¶¶ 2-6]
22         6.     This removal is timely because it has been filed within thirty (30) days after
23   service of Plaintiff’s Summons and the Complaint on WGU, and it thus falls within the
24   time period required by 28 U.S.C. section 1446(b). The United States Supreme Court has
25   held that the 30-day removal deadline is triggered by actual service, as opposed to receipt
26   of the complaint through other means. Murphy Bros., Ins. v. Michetti Pipe Stringing,
27   Inc., 526 U.S. 344 (1999).
28


     CASE NO.                                     2                  NOTICE OF REMOVAL
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 1                                    VENUE IS PROPER
 2         7.     A “civil action brought in a State court of which the district courts of the
 3   United States have original jurisdiction, may be removed by the defendant[s] . . . to the
 4   district court of the United States for the district and division embracing the place where
 5   such action is pending.” 28 U.S.C. § 1441(a). Plaintiffs filed the Complaint in Superior
 6   Court of California for the County of San Diego. Venue of this action, thus, lies in the
 7   United States District Court for the Southern District of California, as this district
 8   “embrac[es] the place where” the state action is pending. 28 U.S.C. § 1441(a).
 9                 REMOVAL BASED ON DIVERSITY JURISDICTION
10   Diversity of Citizenship
11         8.     This action is a civil action over which this Court has original jurisdiction
12   under 28 U.S.C. section 1332 and is one which may be removed to this Court by
13   Defendant pursuant to the provisions 28 U.S.C. section 1441(b) in that it is a civil action
14   between citizens of different states.
15         9.     Plaintiff is, and was at all times relevant to this action, a resident of
16   California. [Exhibit A, ¶ 1.] Furthermore, Plaintiff filed her Complaint in the State of
17   California for the County of San Diego seeking the protections of the laws of this state.
18   Thus, Plaintiff should properly be construed a citizen of the State of California.
19   Mondragon v. Capital One Auto Finance, 736 F3d 880, 886 (9th Cir. 2013) (“Court
20   should consider ‘the entire record’ to determine whether evidence of residency can
21   properly establish citizenship.’”)
22         10.    Defendant Western Governors University is a non-profit corporation
23   organized under the laws of the State of Utah. [Declaration of Sarah Hook (“[Hook]
24   Decl.”) ¶ 3.] Since Plaintiff’s employment, including the date of the Complaint, WGU
25   has maintained the same corporate status. As of date of this Notice of Removal, WGU’s
26   status remains the same. [Id.]
27         11.    At the time of the filing of the Complaint, WGU’s headquarters and
28   principal place of business was in Salt Lake City, Utah. [Hook Decl., ¶ 4.] As of the date


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 1   of this Notice of Removal, WGU’s headquarters and principal place of business remain in
 2   Salt Lake City, Utah. [Id.] From the executive and administrative offices at this location,
 3   WGU’s officers direct, control, and coordinate its nationwide services and overall
 4   business operations. [Id.] WGU’s corporate officers perform their primary fundamental
 5   operations out of Utah, not California. [Id.] WGU is thus a citizen of Utah for purposes
 6   of diversity jurisdiction under the “nerve center” test. 28 U.S.C. § 1332(c)(1); Hertz v.
 7   Friend, 559 U.S. 77, 78 (2010) (holding that a corporation’s “principal place of business”
 8   under section 1332(c)(1) is typically its corporate headquarters so long as the
 9   headquarters is the actual center of direction, control, and coordination rather than an
10   office to hold board meetings).
11         12.    Thus, with Plaintiff as a citizen of California, and WGU a citizen of Utah,
12   complete diversity of citizenship between the parties exist within the meanin g of 28
13   U.S.C. § 1332.
14   Basis for Amount in Controversy
15         13.    Without conceding that Plaintiff is entitled to damages or can recover
16   damages in any amount whatsoever, the amount in controversy in this action exceeds
17   $75,000. 28 U.S.C. §1332(a). The failure of the Complaint to specify the total amount of
18   monetary relief sought by Plaintiff does not deprive this Court of jurisdiction. See 28
19   U.S.C. § 1446(c)(2)(A) (allowing the Notice of Removal to assert the amount in
20   controversy if the initial pleading seeks non-monetary relief or a money judgment and the
21   State practice does not permit a demand for a specific sum and the District Court finds by
22   a preponderance of the evidence that the amount in controversy exceeds $75,000.00);
23   White v. J.C. Penney Life Ins. Co., 861 F. Supp. 25, 26 (S.D. W. Va. 1994) (defendant
24   may remove suit to federal court notwithstanding the failure of plaintiff to plead a
25   specific dollar amount in controversy; if the rules were otherwise, “any plaintiff could
26   avoid removal simply by declining . . . to place a specific dollar value upon its claim.”)
27   A defendant need only establish by a preponderance of the evidence that it is more
28   probable than not that the plaintiff’s claimed damages exceed the jurisdictional minimum.


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 1   See 28 U.S.C. § 1446(c)(2)(B); Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404
 2   (9th Cir. 1997). Further, in determining whether a complaint meets the amount in
 3   controversy threshold for a removal under 28 U.S.C. section 1332(a), a court may
 4   consider the aggregate value of claims for compensatory damages and attorney’s fees.
 5   See e.g., Goldberg v. CPC Int’l, Inc., 678 F.2d 1365, 1367 (9th Cir. 1982) (attorney’s
 6   fees may be taken into account to determine jurisdictional amount); Clark v. Nat’l
 7   Travelers Life Ins. Co., 518 F.2d 1167, 1168 (6th Cir. 1975) (“It is settled that the
 8   statutory penalty and a statutory attorney’s fees can be considered in determining whether
 9   the jurisdictional amount is met.”).
10         14.    In determining whether the amount in controversy exceeds $75,000, th e
11   Court must presume that the plaintiff will prevail on each and every one of her claims.
12   Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001
13   (C.D. Cal. 2002), citing Burns v. Windsor Ins. Co., 31 F.3d 1092, 1096 (11th Cir. 1994)
14   (the amount in controversy analysis presumes that “plaintiff prevails on liability”), citing
15   also Angus v. Shiley Inc., 989 F.2d 142, 146 (3d Cir. 1993) (“the amount in controversy is
16   not measured by the low end of an open-ended claim, but rather by reasonable reading of
17   the value of the rights being litigated”). The argument and facts set forth herein may
18   appropriately be considered in determining whether the jurisdictional amount in
19   controversy is satisfied. Cohn v. Petsmart, Inc., 281 F.3d 837, 843, n.1 (9th Cir. 2002)
20   (citing Willingham v. Morgan, 395 U.S. 402, 407 n.3 (1969)).
21         15.    The amount in controversy may include general and special compensatory
22   damages and attorneys’ fees which are recoverable by statute. Galt v. JSS Scandinavia,
23   142 F.3d 1150, 1155-56 (9th Cir. 1998). The Court may examine the nature of the action
24   and the relief sought, and may take judicial notice of attorney’s fee awards in similar
25   cases. See, e.g., Simmons v. PCR Tech., 209 F.Supp.2d 1029, 1035 (N.D. Cal. 2002)
26   (noting that attorneys’ fees in individual employment discrimination cases often exceed
27   damages).
28         16.    Punitive damages are also included in calculating the amount in controversy.


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 1   Davenport v. Mutual Ben. Health & Acc. Ass’n, 325 F.2d 785, 787 (9th Cir. 1963); see
 2   also Aucina v. Amoco Oil Co., 871 F.Supp. 332 (S.D. Iowa 1994).
 3         17.      Here, Plaintiff seeks: 1) “economic damages in excess of $5,000,000”; 2)
 4   compensatory damages, including pain and suffering (non-economic damages) “in excess
 5   of $10,000,000”; 3) liquidated damages; 4) civil penalties; 5) punitive damages; and 6)
 6   attorney’s fees, interest and cost. [Exhibit A, Prayer for Relief.]
 7         18.      Economic Damages: Plaintiff alleges that she suffered and continues to
 8   suffer economic losses, including lost earnings and benefits. [Exhibit A, ¶¶ 29, 30, 38,
 9   50, 54, 64, 65, 72, 73, and 78 and Prayer for Relief, ¶¶ 1, 2, 3, and 5]. FEHA provides for
10   an award to successful plaintiffs of lost wages including front pay, which is the salary and
11   benefits a plaintiff would have earned from the date of employment termination through
12   the time when the plaintiff should reasonably be expected to find comparable
13   employment. The proper measure of front-pay damages is the amount necessary to
14   restore the plaintiff to the economic position the plaintiff would have occupied but for the
15   illegal discrimination of the employer. Allen v. Cornish & Carey, NO. 96-20254 SW,
16   1997 U.S. Dist. LEXIS 14071, at *18 (N.D. Cal. Apr. 11, 1997) citing Cassino v.
17   Reichhold Chemicals, Inc., 817 F.2d 1338, 1346 (9th Cir. 1987). WGU has a reasonable,
18   good faith belief that Plaintiff seeks damages for lost wages and front pay on her FEHA
19   claims near if not in excess of the jurisdictional requirement of $75,000.00for the
20   following reasons:
21         a. Plaintiff specifies in her Complaint that she is seeking economic damages “in
22               excess of $5,000,000 according to proof”;
23         b. At the time of her alleged termination on June 17, 2022, Plaintiff earned an
24               annual base salary of $51,480 which is approximately $24.75 per hour as an
25               employee of WGU. [Hook Decl., ¶ 5.] Between her September 26, 2022
26               termination and the date of filing of this lawsuit, Plaintiff’s back pay alone is
27               $48,510.
28         c. Assuming that Plaintiff takes this matter to trial exactly 18 months from the


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 1               date of filing of the Complaint, Plaintiff would accrue additional back pay in
 2               the amount of $71,280. Combined with Plaintiff’s lost wages from termination
 3               to date of filing of lawsuit, Plaintiff’s total claim for back pay would amount to
 4               $119,430.
 5         d. Assuming that Plaintiff also recovers front pay for 6 months, this front pay
 6               alone would be $23,760, not including emotional distress damages or punitive
 7               damages.
 8         19.      Emotional Distress Damages: Plaintiff seeks damages for emotional and
 9   mental distress “in excess of $10,000,000.”. [Exhibit A, ¶¶ 29, 38, 50, 54, 65, 72, and
10   Prayer for Relief.] For this reason alone, the amount in controversy exceeds $75,000.
11   Although WGU vigorously denies Plaintiff’s allegations, if Plaintiff was to prevail, the
12   emotional damages alone for Plaintiff could also exceed the $75,000.00 jurisdictional
13   minimum. See, e.g. Swinton v. Potomac Corp., 270 F.3d 794, 799 (9th Cir. 2001)
14   (affirming award of $30,000 in emotional distress damages in employment discrimination
15   case where back pay was only $5,612); Velez v. Roche, 335 F.Supp.2d 1022, 1038-40
16   (N.D. Cal. 2004) (surveying discrimination and retaliation cases awarding emotional
17   distress damages and concluding “that substantial jury awards of hundreds of thousands
18   of dollars for non-economic damages have been upheld where there is evidence . . . the
19   plaintiff suffered heightened mental anguish”); Gardenhire v. Housing Authority, 85
20   Cal.App.4th 236, 237 (2000) (upholding emotional distress award of $1.3 million in a
21   case alleging retaliation).
22         20.      Punitive Damages: Although WGU vigorously denies Plaintiff’s
23   allegations, if Plaintiff was to prevail, the punitive damages alone for Plaintiff could also
24   exceed the $75,000.00 jurisdictional minimum. Ponce v. Medical Eyeglass Ctr., Inc.,
25   2015 U.S. Dist. LEXIS 98517, at *11-12 (C.D. Cal. July 27, 2015) (citing punitive
26   damages awards in large amounts, including, $2,340,700, $200,000, and $40,000,000).
27         21.      Attorneys’ Fees: Plaintiff also seeks to recover attorneys’ fees under FEHA.
28   [Exhibit A, ¶¶ 30, 38, 54, 65, 73 and Prayer for Relief, ¶ 8.] Attorneys’ fees are


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 1   recoverable to the prevailing party under FEHA. Plaintiff’s claims for attorneys’ fees
 2   will likely exceed $75,000.00. WGU’s lead attorney, Alison L. Lynch, has represented
 3   employers in employment litigation for over 18 years in California, and is familiar with
 4   fees requested by Plaintiff’s counsel in similar actions filed in California state and federal
 5   courts. [Declaration of Alison L. Lynch, ¶ 3.] Based on Plaintiff’s allegations, it would
 6   not be unreasonable to expect that attorneys’ fees will exceed the sum of $75,000.00 for
 7   Plaintiff through trial. [See id.]
 8         22.     Accordingly, given the amounts of the potential damages at issue as outlined
 9   above, Plaintiff’s allegations satisfy the jurisdictional prerequisite for amount in
10   controversy as it cannot be said to a legal certainty that Plaintiff would not be entitled to
11   recover in excess of $75,000 should she prevail. Anthony v. Security Pacific Fin. Servs.,
12   Inc., 75 F.3d 311, 315 (7th Cir. 1996); Watson v. Blankinship, 20 F.3d 383, 386–87 (10th
13   Cir. 1994).
14         23.     For these reasons, this Court has original jurisdiction pursuant to 28 U.S.C.
15   sections 1331 and 1332, and this action may be removed by WGU to this Court pursuant
16   to 28 U.S.C. section 1441 based on diversity jurisdiction.
17                    NOTICE TO ALL PARTIES AND STATE COURT
18         24.     In accordance with 28 U.S.C. section 1446(d), the undersigned counsel
19   certifies that a copy of this Notice of Removal and all supporting papers promptly will be
20   served on Plaintiff’s counsel and filed with the Clerk and the San Diego County Superior
21   Court. Therefore, all procedural requirements under 28 U.S.C. section 1446 have been
22   satisfied.
23                                        CONCLUSION
24         25.     Based on the foregoing, WGU removes this action to this court pursuant to
25   the provisions of 28 U.S.C. §§ 1332 and 1441, et seq. because the action is between
26   citizens of different states and on the amount in controversy exceeds the sum of $75,000,
27   exclusive of interests and costs.
28   ///


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 1           26.      WHEREFORE, WGU respectfully removes the above action pending in the
 2   San Diego County Superior Court.
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 4
 5   Dated: October 6, 2023           JACKSON LEWIS P.C.
 6
 7                                       By: /s/ Alison L. Lynch
 8
                                           Alison L. Lynch
                                           Sarah Raoof
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10
                                            Attorneys for Defendant WESTERN
                                            GOVERNORS UNIVERSITY
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